                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

Reyna Arroyo
                                     Plaintiff,
v.                                                      Case No.: 1:21−cv−01148
                                                        Honorable Steven C. Seeger
City of Chicago Police Dept.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 12, 2024:


         MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the
joint status report. (Dckt. No. [130]) Defendants redeposed Plaintiff. The parties are
engaged in active settlement discussions, but do not seek a settlement conference at this
time. The Court reaffirms the deadline of December 16, 2024 for dispositive motions.
Mailed notice. (jjr, )




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